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                              EXHIBIT 4
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             1        I,    ~    A.                       declare as follows:
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            3         1.     This declaration is based on my personal knowledge. If called to testify in this
            4     case, I would testify competently about these facts.
            5     2.       . I am 15 years old. I am from Mexico. I speak Spanish and some English. I have
            6     been in the United States for about" one year and nine months. I am currently in
            7     immigration detention in the custody of ORR at Mercy First Residential Treatment
            8     Center.
            9     3.         When I came to the United States, I was taken into immigration custo.dy _and ~hen .
       ." 10      tr~sferred to BCFS in San Anto.nio. I was ju;t there· for four days: One morning, they
        11        woke me up at 4 am and put me on a plane. They did not tell me where I was going; they
        12       just said that I was being taken to a better place, which turned out to be a lie. When I
        13        arrived in Virginia, they finally told me where I was and that they were taking me to
       14         Shenandoah Juvenile Detention Center.
       15        4.         I don't remember ORR telling me why they were moving me to Shenandoah. I
       16        don't remember ever getting anything in writing that told me the reason that they moved
       17        me to Shenandoah. I don't remember being told that I could challenge or appeal the
       18        decision to put me in Shenandoah.
       19        5.         I was in Shenandoah for seven months. I did riot like being in Shenandoah or the
       20        way that the staff treated us there. The staff members would say ugly things about my
       21        mother and my family members. I think they did that to try to make me mad and to act
       22        out. I saw them do similar things to the other kids who were there. I think the worst
· -- l3- --thlng-about-b©m.g-i-n-Sb©nandoah-was-the-ti.ghts-and.-seeing...the-sta-f'f-member.s-hit-other-
       24        kids in the facility.
      25         6.        At Shenandoah, they punished.us by putting us in solitary confinement for long
      26         periods of time. Ifwe got into a fight, refused to go into our rooms or to follow the
      27         program, or broke the rules in another minor way, they would put us into our rooms for
      28         weeks at a time. Three times, they put me into my room in solitary confinement for two


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       1     weeks, and one time, they put me in my room for three and a half weeks. When we were
       2     on solitary confinement, they did not let us out for any reason, including to eat, take
       3     showers or use the bathroom. Each room had a bathroom which we used to do our
       4     necessities so we would not go out. We had to do all of that in our rooms. I didn't know
       5     of any way to try to appeal or challenge the staffs decision to put me into solitary
      · 6 ·confinement; no o.z:ie seemed to pay attention to how they were treating us.
       7     7.     They also tied us to restraint chairs as punishment. One time, when I was at
       8    Shenandoah, I didn't want to go into my room. The staff members reacted by pushing
       9    me to the floor, and one of the staff members grabbed my head and forced my head down
  10        to the gro{ind: Then they.handcuffed me and put a white b~g of some kind orito m; head.
  11        They took off all of my clothes and put me into a restraint chair, where they attached my
  12        hands and feet to the chair. They also put a strap across my chest. They left me naked
  13        attached to that chair for two and a half days, including at night.   They took the bag off
  14        my head when they sat me down on the restraint chair. There were staff members in the
  15        room at times but they would leave me alone for a few hours. I do not remember very
  16        well. I never saw a doctor while I was in the chair or after they took me out.
  17        8.    I saw three other children tied to the restraint chair at different times. Each time,
  18       they were left there for about a day.
  19       9.     Early one morning at about 3 am when I was at Shenandoah, the staff woke me up
 20        and told me that I was leaving. I was moved to Yolo Juvenile Detention Center that day.
 21        I don't remember ever getting anything in writing about the transfer telling me why I was
 22        being moved or that I could appeal or challenge the decision to put me in Yolo.
 23- --1-0-. - Y-oro-wa-satsoa lmrrtole place. They used pepper spray on tnelacistnere, ana-r
 24        was sprayed seven times in my eyes. It burned and hurt a lot.
. 25       11.    After I was at Yolo for five months, they moved me to Mercy First in the RTC
 26        program. I have been here for nine months now.
 27        12.    I receive a number of medications here, to help me sleep and for my emotions,
 28        including depression and anxiety. They told me here that I have to talce the medications,


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           1   and that it is mandatmy. When I hav e refused to take my medications, they put me on th
           2   red level of our program, which means that I cannot leave the unit.
           3   13.   During the time that I have been in immigration detention, I do not remember
           4   being told that I could have a bond hearing if I requested one.
           5 · 14.   I considered taking voluntary departure because of the way that I have been treated
           6   at the different centers that I have been held at.. Because of the things that have happened
           7   to me, I do not have any trust in them that they will treat me properly or that the
           8   government will try to release me to a .sponsor or to be held in a less restrictive
           9   environment. I have_~een in immigration_detention for a lqng time, and I have never had
          10   any good news in the. time that I have been.here. I just ~ant to.have freedo~ and to not

          11   have to live in these types of places.
          12
          13   I declare under penalty of perjury that the foregoing is true and correct. Executed on this
          14   ~ day ofl.""'"".) , 2018, at Ve"' '1     11
                                                          ..--\.:       ,   New York.
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          17                                                                  . J. A.
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   1                                   CERTIFICATE OF TRANSLATION
   2          I, \J,€?)<\\~:sf? ~0-tff ..Q..(l)            ,   hereby certify that I am proficient in both
   3    Spanish and English, and that I accurately translated the foregoing statement and read it
   4    back to          :[   A.           #'   rin its entirety in Spanish on          [DATE] \    \Z \\i .
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   6                                                           ~-""--_
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   7                                                   [NAME]

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